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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK
JEFFREY LAYDON, on behalf of himself and all
others similarly situated,

                             Plaintiff,          ~   Docket No. 12-cv-3419 (GBD) (HBP)
                     - against -

THE BANK OF TOKYO-MITSUBISHI UFJ, LTD.,
THE SUMITOMO TRUST AND BANKING CO.,
LTD., THE NORINCHUKIN BANK, MITSUBISHI
UFJ TRUST AND BANKING CORPORATION,
SUMITOMO MITSUI BANKING CORPORATION,
J.P. MORGAN CHASE & CO., J.P. MORGAN CHASE ;
BANK, NATIONAL ASSOCIATION,J.P. MORGAN
SECURITIES PLC, MIZUHO CORPORATE BANK,
LTD., DEUTSCHE BANK AG, THE SHOKO
CHUKIN BANK, LTD., SHINKIN CENTRAL BANK, :
UBS AG, UBS SECURITIES JAPAN CO. LTD., THE
BANK OF YOKOHAMA, LTD., SOCIETE
GENERALE SA, THE ROYAL BANK OF
SCOTLAND GROUP PLC, THE ROYAL BANK OF
SCOTLAND PLC, RBS SECURITIES JAPAN
LIMITED, BARCLAYS BANK PLC, CITIBANK, NA,
CITIGROUP, INC., CITIBANK, JAPAN LTD.,
CITIGROUP GLOBAL MARKETS JAPAN, INC.,
COOPERATIEVE CENTRALE RAIFFEISEN-
BOERENLEENBANK B.A., HSBC HOLDINGS PLC, :
HSBC BANK PLC, LLOYDS BANKING GROUP PLC,'.
ICAP EUROPE LIMITED, R.P. MARTIN HOLDINGS:
LIMITED, MARTIN BROKERS (UK) LTD., TULLETT
PREBON PLC, AND JOHN DOE NOS. 1-50,

                             Defendants.


                   '[I'   OP05~fi)    R£VISED SCHEDULING ORDER
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       WHEREAS, the Court entered a scheduling order on April 17, 2017 (the "April 17

Scheduling Order");

       WHEREAS, by letter motion dated January 25, 2018, Plaintiff and Defendants jointly

requested a 60-day extension of all deadlines set in the April 17 Scheduling Order;

       WHEREAS, the Court granted the parties' request for a 60-day extension and entered a

revised scheduling order on January 26, 2018 (the "January 26 Scheduling Order"); and

       WHEREAS, by letter motion dated March 30, 2018, Plaintiff and Defendants jointly

requested a 60-day extension of all deadlines set in the January 26 Scheduling Order;

       It is hereby ORDERED as follows:

       I.       FACT DISCOVERY

               A.       The parties shall continue to make rolling productions in good faith

following the entry of this Order. The parties shall prioritize for production document discovery

relating to issues in support of or in opposition to class certification. All document discovery shall

be substantially complete by June 1, 2018.

               B.       The parties agree to meet and confer after June 1, 2018 regarding the scope

of any additional discovery to occur prior to the Court's decision on class certification.

                C.      All fact discovery shall be completed by the later of (i) 180 days following the

Court's decision on class certification or (ii) 90 days after the resolution by agreement or court order

of any motions to compel the production of documents or other matters related to the production

of documents, including without limitation privilege or redaction logs, or data privacy issues or any

motions to compel the production of any witness for deposition or other motion to compel directed

to non-document discovery.

                D.      In the case of discovery disputes, the parties should follow Local Civil Rule

37.2 with the following modifications: Any party wishing to raise a discovery dispute with the Court
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must first meet and confer in good faith with the opposing party, in person, or by telephone, in an

effort to resolve the dispute.

        II.      CLASS CERTIFICATION AND CLASS CERTIFICATION EXPERT
                 DISCOVERY

                A.       Plaintiff shall serve class certification expert reports no later than October 15,

2018.

                B.       Defendants shall serve class certification expert reports no later than

December 14, 2018.

                C.       Plaintiff shall serve rebuttal class certification expert reports no later than

January 15, 2019.

                D.       Plaintiff shall file his motion for class certification no later than 30 days after

he serves any rebuttal class certification expert report pursuant to II.C (or, if no such report is filed,

no later than February 15, 2019).

                E.       Any opposition to the motion for class certification shall be filed no later

than 60 days after Plaintiff files his motion for class certification.

                F.       Any reply brief in support of the motion for class certification shall be filed

no later than 30 days after any opposition to the motion for class certification is filed.

                G.      The parties agree to negotiate in good faith the timing of depositions of their

experts proffered in support of and in opposition to class certification.

        III.    MERITS EXPERT DISCOVERY

                A.      Any party bearing the burden of proof on an issue for which they intend to

offer expert opinion shall serve their experts' reports no later than 90 days after the close of fact

discovery.




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                B.      Any party seeking to offer expert opinion in response to any reports served

under Section III.A., shall serve their experts' reports no later than 60 days after the opening expert

report is served.

                C.      Any rebuttal experts' reports shall be served no later than 30 days after

responsive expert reports are served.

        IV.     DISPOSITIVE MOTIONS

                A.      Any dispositive motions shall be made no later than 90 days after all merits

expert reports are exchanged.

                B.      The opposition to any dispositive motion shall be filed no later than 90 days

after the filing of the motion.

                C.      Any reply shall be filed no later than 45 days after any opposition to the

dispositive motion is filed.




Dated: New York, New York
         _____
                                                The~~~
        Lt- z, , 2018


                                                United States Magistrate Judge




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